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14                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
15

16   IN RE: ROUNDUP PRODUCTS                   ) MDL No. 2741
     LIABILITY LITIGATION                      ) Case No. 3:16-md-02741-VC
17                                             )
                                               ) MONSANTO COMPANY’S
18    Hardeman v. Monsanto Co., et al.,        ) OPPOSITION TO PLAINTIFFS’
      3:16-cv-0525-VC                          ) MOTION IN LIMINE NO. 2 TO
19    Stevick v. Monsanto Co., et al.,         )
      3:16-cv-2341-VC                          ) EXCLUDE NEW GENERAL
20    Gebeyehou v. Monsanto Co., et al.,       ) CAUSATION EXPERTS AND OPINIONS
      3:16-cv-5813-VC                          )
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         MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE NEW
                         GENERAL CAUSATION EXPERTS AND OPINIONS
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 3            Plaintiffs’ motion in limine to exclude “new general causation experts and opinions” is a
 4   repackaged version of their Daubert motion to exclude Monsanto’s specific causation experts and,
 5   like that motion, is based entirely on a mischaracterization of the experts’ opinions. Contrary to
 6   Plaintiffs’ assertion, Monsanto’s specific causation experts are not offering new general causation
 7   opinions. Instead, the experts performed valid differential diagnoses that focused on each Plaintiff’s
 8   unique medical history and circumstances.           That Monsanto’s experts analyzed the existing
 9   epidemiologic studies or other evidence that might have also been considered at the general causation
10   phase in reaching their specific causation opinion here is not improper, particularly where Plaintiffs’
11   own experts do the same. Indeed, Plaintiffs’ experts rely on a subset of previously-considered studies
12   in reaching their specific causation opinions, yet Plaintiffs now seek to prevent Monsanto’s experts
13   from responding by addressing the totality of the evidence. Plaintiffs’ motion should be denied.
14   II.      ARGUMENT
15            A.     Monsanto’s Specific Causation Experts Have Offered Admissible Differential
                     Diagnoses, Not New General Causation Opinions.
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              Plaintiffs first complain that Monsanto’s specific causation experts are offering improper
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     general causation opinions. Not so. Each expert has offered a valid differential diagnosis that
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     addressed in depth the specific other risk factors present for the individual Plaintiffs and the literature
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     discussing those specific risk factors.     To take just one example, Dr. Grossbard conducted an
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     extensive review of Mr. Hardeman’s medical records, see Grossbard Rep. (Hardeman) at 3–4 (Ex. 1);
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     explained the nature of NHL, the relevant recognized risk factors for it, and the literature supporting
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     those risk factors, id. at 5–7; and then analyzed and considered several epidemiologic studies in
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     assessing whether Roundup could be “ruled in” as an additional risk factor that somehow rises to an
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     identifiable cause of Mr. Hardeman’s cancer, id. at 7–8. Ultimately, relying on his clinical judgment
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     and assessment of the medical records and the literature, and after considering all the possible risk
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     factors, Dr. Grossbard concluded that “[t]here is nothing peculiar or unusual about Mr. Hardeman’s
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          MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE NEW GENERAL
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     DLBCL that points to Roundup as a factor in etiology. . . . There is no biomarker, test, or any
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     diagnostic protocol that can identify Roundup as causing or contributing to the disease.” Id. at 10. In
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     other words, he was unable to “rule in” Roundup for Mr. Hardeman.                 Indeed, because Mr.
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     Hardeman’s DLBCL is not peculiar or unusual, Dr. Grossbard concluded that he could not “rule[]
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     out” hepatitis B and C as potential contributing causes, such that the cause of Mr. Hardeman’s
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     DLBCL remains unknown (like the vast majority of NHL cases). Id. Likewise, Monsanto’s other
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     specific causation experts properly focused on the individual circumstances of the Plaintiffs.1
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             To be sure, Monsanto’s experts did provide some analysis of the epidemiologic studies
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     regarding Roundup, but did so in order to fairly consider the circumstances of each Plaintiff and to
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     put into perspective why they do not believe Roundup or glyphosate are established risk factors that
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     should be ruled in.    Nothing about that approach is improper.         Indeed, the Court has already
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     recognized that “it would be impossible to have a strict delineation between the concept of general
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     causation and the concept of specific causation.” See 12/5 CMC Tr. at 28:20–29:7 (Ex. 7).2 Some
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     inquiry into the epidemiology is always necessary to answer the question that the first prong of a
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     valid specific causation differential diagnosis poses: What is it about a particular Plaintiff that might
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       See Levine Rep. (Hardeman) 12–20 (Ex. 2) (evaluating all of Mr. Hardeman’s risk factors and
17   concluding that “[t]here is nothing in Mr. Hardeman’s cancer pathology that implicates Roundup, nor
     is there anything different or unusual about Mr. Hardeman’s clinical presentation suggestive of
18   Roundup causation”); Grossbard Rep. (Gebeyehou) 3–7, 9 (Ex. 3) (analyzing Mr. Gebeyehou’s
     medical history and risk factors and concluding that “[l]ike the clear majority of NHL cases, the
19   etiology of Mr. Gebeyehou’s DLBCL is not known. There is no biomarker, test, or any diagnostic
     protocol which can identify Roundup as causing or contributing to the disease.”); Fleming Rep.
20   (Gebeyehou) 2–5 (Ex. 4) (reviewing Mr. Gebeyehou’s medical history and risk factors and
     concluding that Roundup cannot be identified as a cause for his DLBCL); Bello Rep. (Stevick) 11–16
21   (Ex. 5) (evaluating Ms. Stevick’s medical history and concluding that “[t]he cause of Ms. Stevick’s
     CNS NHL is unknown as it is [in] the majority of cases of CNS lymphoma that I see in my
22   hematology and oncology practice”); Villablanca Rep. (Stevick) 2–16 (Ex. 6) (analyzing and
     explaining the results of Ms. Stevick’s brain scans and concluding that “[i]n [his] clinical experience,
23   Ms. Stevick’s clinical presentation was typical for patients with primary cerebral lymphoma,” that
     “there is nothing unique about the imaging findings in patients who have been exposed to
24   environmental agents versus those who have not,” and that “there are no medical imaging findings
     that suggest or demonstrate that Roundup caused or substantially contributed to Mrs. Stevick’s
25   primary cerebral lymphoma”).
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26     See also PTO 7 at 8 (“This Order shall not preclude the parties from designating additional experts
     who may offer opinions relating to general or specific causation if this MDL proceeds beyond the
27   general-causation phase.”).

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         MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE NEW GENERAL
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     allow the expert to reliably rule in Roundup as a cause of his or her NHL?         In answering that
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     question, Monsanto’s experts carefully considered the Plaintiffs’ medical records, the nature of NHL,
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     the recognized risk factors for NHL and the literature surrounding them, and the best available
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     scientific evidence regarding the possibility that Roundup may also be a risk factor. They then
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     applied their real-world experience to that evidence and concluded that Roundup did not constitute a
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     substantial factor in the Plaintiffs’ NHL. Those are the elements of a proper differential diagnosis,
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     not a general causation opinion.3
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             B.     Plaintiffs’ Attack On Dr. Steidl’s Report Mischaracterizes His Opinion And
 8                  Ignores That Their Own Specific Cause Experts Rely On Epidemiologic Studies.
 9           Plaintiffs also criticize Dr. Steidl for evaluating the totality of the evidence on Roundup in
10   assessing whether it could be the cause of Mr. Hardeman’s DLBCL. Contrary to Plaintiffs’ assertion,
11   Dr. Steidl is not offering a new general causation opinion. Like Monsanto’s other specific causation
12   experts, he focused on Mr. Hardeman’s unique circumstances.           Specifically, he evaluated Mr.
13   Hardeman’s medical history, Steidl Rep. (Hardeman) 11–12 (Ex. 11), as well as all possible causes
14   of his DLBCL, id. at 13–16. He then considered the existing literature on those causes. For example,
15   he considered the literature on DLBCL and hepatitis C, which he concluded “documents a
16   significantly elevated risk—and indeed a causal association—between [hepatitis C] and NHL.” Id. at
17   14. Similarly, he considered the literature on hepatitis B and NHL, concluding that “[t]he scientific
18   evidence finding that [hepatitis B] is a contributing factor to NHL and its DLBCL subtype is also
19   compelling.” Id. at 16. He also evaluated the “totality of the evidence” on glyphosate and NHL,
20   finding it less persuasive that the evidence connecting NHL with hepatitis C and hepatitis B. Id. at
21   13–14. He went on to note that “[t]here is no known clinical or scientific test or procedure that can
22   determine Roundup to have caused or contributed to Mr. Hardeman’s DLBCL.” Id. at 14. He
23   ultimately concluded that “looking at Mr. Hardeman’s clinical presentation and pathology, there is no
24   3
       If Plaintiffs are correct that a specific causation expert is not allowed to mention epidemiology at
25   all, then their own experts must be stricken, since there is no dispute that they ruled in Roundup
     solely on the basis of their favored epidemiology studies. See, e.g., Nabhan Rep. (Hardeman) 5–8
26   (Ex. 8) (discussing epidemiology studies); Shustov Rep. (Hardeman) 7–9 (Ex. 9) (same);
     Weisenburger Rep. (Hardeman) 4 (Ex. 10) (discussing odds ratios from various epidemiologic
27   studies).

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         MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE NEW GENERAL
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     evidence suggesting that Roundup caused or contributed to his DLBCL,” and that “[t]o the extent an
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     etiology can be identified, it is likely that [hepatitis C] and [hepatitis B] substantially contributed to
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     Mr. Hardeman’s DLBCL.”           Id. at 16. Accordingly, Dr. Steidl—like Monsanto’s other specific
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     causation experts—conducted a proper differential diagnosis.
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            In attacking Dr. Steidl for considering all the evidence about Roundup in reaching his opinion
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     about Mr. Hardeman, Plaintiffs ignore that their own experts rely on a subset of evidence from the
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     general causation phase in reaching their specific causation opinions.               For example, Dr.
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     Weisenburger concluded that each of the Plaintiffs was in “the high-risk category for the
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     development of NHL” based on odds ratios that he cherry-picked from McDuffie 2001, Eriksson
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     2008, and an unpublished presentation of the NAPP data. See, e.g., Weisenburger Rep. (Hardeman)
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     4 (Ex. 10); see also Weisenburger Stevick Dep. at 113:10–115:1 (Ex. 12) (testifying that his specific
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     causation methodology involves “ranking” risk factors by comparing odds ratios that he plucks from
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     epidemiologic studies that he deems “most relevant to what [he] was asked to demonstrate”).
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     Similarly, Dr. Nabhan and Dr. Shustov ruled in Roundup for each Plaintiff using the same cherry-
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     picked data from McDuffie 2001 and Eriksson 2008 that Dr. Weisenburger used. See, e.g., Nabhan
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     Rep. (Hardeman) 8 (Ex. 8); Shustov Rep. (Hardeman) 9 (Ex. 9).
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            Thus, as Plaintiffs would have it, their specific causation experts should be allowed to bring
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     up epidemiology from the general causation phase and argue that their favored studies put these
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     Plaintiffs in the “high risk category” for NHL sufficient to rule in Roundup, but Monsanto’s specific
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     causation experts should be precluded from responding.             The Court should reject this ploy.
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     Monsanto’s experts must be allowed to rebut Plaintiffs’ experts’ specific causation opinions—which
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     rule in Roundup for individual Plaintiffs by comparing their “exposure” to selective epidemiologic
22
     data—by arguing that the totality of the evidence on Roundup does not justify such an approach. See,
23
     e.g., In re Mirena IUD Prod. Liab. Litig., 169 F. Supp. 3d 396, 418–19 (S.D.N.Y. 2016), aff’d, 2017
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     WL 4785947 (2d Cir. Oct. 24, 2017) (“pointing to the absence of convincing studies or the
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     weaknesses of studies on which Plaintiffs rely, and evaluating them in light of their clinical
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     experience, training and research, is . . . a logical and valid approach.”).
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       MONSANTO’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE NEW GENERAL
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            In short, Monsanto’s specific causation experts have offered proper differential diagnoses
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     evaluating each Plaintiff’s medical history, not prohibited general causation opinions. To the extent
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     Plaintiffs are arguing that Monsanto’s specific causation experts should be precluded from
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     mentioning any evidence considered at the general causation phase, that argument cannot be
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     reconciled with a properly administered specific causation methodology, where appropriately “ruling
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     in” a substance is the essential first step of a differential diagnosis. That the Court has allowed
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     Plaintiffs to proceed past general causation despite the dubious connection between Roundup and
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     NHL hardly dictates that every expert must take that remote possibility as some kind of established
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     scientific fact. Plaintiffs’ motion should be denied.
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     DATED: January 30, 2019
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                                                   Respectfully submitted,
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                                                   /s/ Brian L. Stekloff___________
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                                       CERTIFICATE OF SERVICE
 1
            I HEREBY CERTIFY that on this 23rd day of January 2019, a copy of the foregoing was
 2
     served via electronic mail to opposing counsel.
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 4
                                                        /s/ Brian L. Stekloff___________
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